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                        IN THE UNITED STATES DISTRICT COURT                         SEP 112024
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION                           CLERK, U S.   i$TC1 C
                                                                               WESTERN FTPIPT 'E       >A

                                                                                                   D   UTY


MARK ANTHONY ORTEGA
                                                       Case No. SA-24-CV-00838-FB-ESC
                             Plaintiff,

              V.



LOUIS AMBROSIO and BLOCK EQUITY
GROUP, LLC,

                             Defendants.


              PLAINTIFF'S MOTION FOR CLERK'S ENTRY OF DEFAULT

       Plaintiff, Mark Anthony Ortega ("Plaintiff"), requests that the Clerk of Court enter default

against Defendant Block Equity Group, LLC ("Block EG"), pursuant to Federal Rule of Civil

Procedure 55(a). In support of this request, Plaintiff states the following:

                                            SUMMARY

               The Proof of Service (ECF No, 5) demonstrates that Block EG was properly

served with a copy of PlaintifFs Original Complaint (ECF No. 1) in this case on August 9, 2024.

        2.     More than twenty-one (21) days have elapsed since the date of service of process,

and Block EG has failed to answer, challenge, or otherwise defend as required by Federal Rule

of Civil Procedure I 2(a)( 1)(A) and as demonstrated by the record in this action and by the

Declaration of Mark Anthony Ortega. See ExhibitA.

                                           BACKGROUND

        3.     On July 24, 2024, Plaintiff filed his Original Complaint (ECF No. 1) against

Block EG in this suit seeking monetary relief for violations of the Telephone Consumer
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Protection Act ("TCPA"), 47 U.S.C. § 227 et seq. 47 C.F.R. § 64. 1200(d)(6), and the Texas

Business and commercial code, chapter 302.

        4.      Plaintiff properly served Block EG with the complaint and Summons on August

9, 2024 (ECF No. 5).

        5.      Block EG has not appeared in this action.

                              ARGUMENTS AND AUTHORITIES

        6.      The clerk of Court must enter a default against a party who has not filed a

responsive pleading or otherwise defended the suit. Fed. R. Civ. P. 55(a); see N.Y Lfe Ins. Co. v.

Brown, 84 F.3d 137, 141 (5th Cir. 1996).

        7.      The Clerk should enter a default against Block EG because it did not file a

responsive pleading within 21 days of service. Fed. R. Civ. P. 12(a)(1)(A)(i); Fed. R. Civ. P. 6(d);

see Fed. R. Civ. P. 5 5(a).


        8.      The Clerk should enter a default against Block EG because it did not otherwise

defend the suit. Fed. R. Civ. P. 55(a).

        9.      Because Block EG did not file a responsive pleading or otherwise defend the suit,

it is not entitled to notice of entry of default. See Fed. R. Civ. P. 5(a)(2); New York Lfe Ins. Co. V.

Brown, 84 F.3d 137, 141-42 (5th Cir. 1996).

        10.     Plaintiff is therefore, entitled to entry of default against Block EG because it has

failed to file an answer to the Original Complaint or any other responsive pleadings. This entry

of default is authorized by Rule 55 of the Federal Rules of Civil Procedure.

                                              PRAYER

        For the foregoing reasons, Plaintiffs respectfully request the Clerk of Court to enter a

default against Defendant Block EG in this matter.




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Dated: September 8, 2024                              Respectfully submitted,

                                                      Mark Anthony Ortega
                                                      Plaintiff, P e

                                                                         JtLJJ/)9LFL
                                                      By:
                                                      mortega@utexas.edu
                                                      P0 Box 702099
                                                      San Antonio, TX 78270
                                                      Telephone: (210) 744-9663




                                 CERTIFICATE OF SERVICE

I hereby certify that on September 8, 2024, I mailed the foregoing via first class mail for
traditionally filing with the clerk of court for the U.S. District Court, Western District of Texas,
and served a true and correct copy of this document on the parties and/or attorneys of record via
email to mvaldiniblockequitygr.comcom and via first class mail to Defendant at the following
address:

Block Equity Group, LLC
REPUBLIC REGISTERED AGENT SERVICES IN
54 STATE STREET, STE 804
ALBANY, NY, 12207


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                       Exhibit            A
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION



MARK ANTHONY ORTEGA
                                                    Case No. SA-24-CV-00838-FB-ESC
                            Plaintiff,



LOUIS AMBROSIO and BLOCK EQUITY
GROUP LLC,

                            Defendants.



             AFFIDAVIT IN SUPPORT OF CLERK'S ENTRY OF DEFAULT

       I hereby certify that I, Mark Anthony Ortega, am the Plaintiff in the above cause, and that

defendant BLOCK EQUITY GROUP, LLC was served on August 9, 2024 as evidenced by the

Proof of Service. (ECF No. 5)

       I further certify that the defendant has failed to serve an answer or other responsive

pleading; the defendant is neither an infant (under age 21) nor an incompetent person; the

defendant is not in the active military service of the United States of America or its officers or

agents or was not six months prior to the filing of the case. Therefore, the Clerk is requested to

enter a default against said defendant.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.
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Date: September _____, 2024

                                        Mark



                                        By:!          i/
                                        mortgautexs.edu '.-"
                                                              I.
                                        P0 Box 702099
                                        San Antonio, TX 78270
                                        Telephone: (210) 744-9663
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION



MARK ANTHONY ORTEGA
                                                  Case No. SA-24-CV-00838-FB-ESC
                          Plaintiff,

             V.



LOUIS AMBROSIO and BLOCK EQUITY
GROUP, LLC,

                          Defendants.


                             CLERK'S ENTRY OF DEFAULT

       The Plaintiff, Mark Anthony Ortega, having filed a Complaint (ECF No. 1) on July 24,

2024, and the Defendant, BLOCK EQUITY GROUP, LLC, having failed to plead or otherwise

defend as required by the Federal Rules of Civil Procedure, and the time for responding having

expired;

       IT IS ORDERED, that the Clerk enter the default of the Defendant, BLOCK EQUITY

GROUP, LLC.




                                                      Clerk of Court
